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                                UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                  OWENSBORO DIVISION

CRIMINAL ACTION NO. 4:20CR-00022-JHM

UNITED STATES OF AMERICA                                                             PLAINTIFF

VS.

BILLY RAY SUTTON                                                                   DEFENDANT

                              MEMORANDUM OPNION AND ORDER

       This matter is before the Court on a motion by Defendant, Billy Ray Sutton, to exclude

from the trial the drug, audio, and video evidence from the March 12, 2020, controlled buy. [DN

21, DN 36]. The United States filed a response. [DN 32]. No reply was filed. Fully briefed, this

matter is ripe for decision

                                       I. BACKGROUND

       Defendant, Billy Ray Sutton, is charged in Count 1 of the indictment with possession with

intent to distribute methamphetamine on September 8, 2020, and in Count 2 of the indictment with

distribution of methamphetamine on March 12, 2020. [DN 1]. Count 2 of the indictment arises

out of a controlled buy on March 12, 2020, involving 362.20 grams of methamphetamine. Prior

to the transaction, law enforcement searched the confidential informant for any contraband. Law

enforcement provided the informant with funds to purchase the methamphetamine.                  The

transaction took place inside the informant’s residence and was recorded by video and audio. [DN

35]. The video shows Sutton enter the residence with a gray plastic bag, remove a white plastic

bag from the gray bag, and remove a clear Ziploc bag containing a crystal substance from the white

bag. Sutton and the confidential informant pour the crystal substance into a cup which is placed

on top of a digital scale. Sutton states that the substance is three ounces short of a pound. [Id.].
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Following the distribution of the methamphetamine, law enforcement took custody of the drugs

and the recorder from the confidential informant, as well as currency not used in the transaction.

According to both parties, prior to law enforcement’s meeting with the confidential informant after

the controlled buy, the audio and video recording devices turn off due to low battery power.

       Sutton now seeks to exclude the drug, audio, and video evidence of the controlled buy

arguing that the death of the informant in this case renders the evidence inadmissible. Specifically,

Sutton maintains that because the informant is deceased, the recordings of the controlled buy are

inadmissible hearsay and will violate his confrontation rights under the Sixth Amendment.

Additionally, Sutton contends that the drug evidence is not reliable.

                                        II. DISCUSSION

A. Confrontation Clause

       The Confrontation Clause of the Sixth Amendment states: “In all criminal prosecutions,

the accused shall enjoy the right . . . to be confronted with the witnesses against him.” U.S. Const.

amend. VI. The primary purpose of the Confrontation Clause is to prevent out-of-court statements

from being used against a criminal defendant in lieu of in-court testimony subject to the scrutiny

of cross-examination. Crawford v. Washington, 541 U.S. 36, 50 (2004); see, e.g., Douglas v. State

of Ala., 380 U.S. 415, 418–19 (1965). However, there is no Confrontation Clause issue when out-

of-court statements are admitted for purposes other than showing the truth of the matter asserted.

Crawford, 541 U.S. at 59 n.9; see, e.g., Williams v. Illinois, 567 U.S. 50 (2012); Michigan v.

Bryant, 562 U.S. 344, 367 n.11 (2011); Tennessee v. Street, 471 U.S. 409, 414 (1985).

       Here, Sutton argues that the statements made by the informant on the controlled buy video

are inadmissible hearsay because they are being introduced by the United States to prove the truth

of the matter asserted. According to Sutton, because he had no opportunity to cross-examine the



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informant prior to his death, introduction of the video with the statements would be in violation of

Sutton’s Sixth Amendment rights. Similarly, Sutton maintains that because the origin of the drug

evidence in Count 2 is supported by only the claims of the informant and because Sutton does not

have the ability to confront the informant to challenge his reliability and credibility, the drug

evidence should likewise be excluded. [DN 36 at 4–5].

       The Court rejects this argument. Sutton’s statements captured on the recordings are party

admissions and nontestimonial and do not violate the Confrontation Clause. United States v.

Jones, 205 F. App’x 327, 342–43 (6th Cir. 2006); United States v. Sexton, 119 F. App’x 735, 741–

43 (6th Cir. 2005). Likewise, as represented by the United States, the confidential informant’s

statements captured on the recording are not offered for the truth of the matters asserted but to

“give meaning to the admissible responses of [Sutton]” by placing them in context. Sexton, 119

F. App’x at 743 (“When an out-of-court statement is not offered to prove the truth of the matter

asserted, as with [the CI’s] statements, the Confrontation Clause is not implicated.”); see also

United States v. Jones, 205 F. App’x 327, 342–43 (6th Cir. 2006) (finding that CI’s statements on

a recorded drug buy did not violate the Confrontation Clause when offered to give meaning to

defendant’s statements on the same recording); United States v. Hendricks, 395 F.3d 173, 184 (3d

Cir. 2005) (holding that “if a Defendant . . . makes statements as part of a reciprocal and integrated

conversation with a government informant who later becomes unavailable for trial, the

Confrontation Clause does not bar the introduction of the informant’s portions of the conversation

as are reasonably required to place the defendant[’s] . . . nontestimonial statements into context”);

United States v. Whiteside, 747 F. App’x 387, 399 (6th Cir. 2018); United States v. Sneed, No.

3:14 CR 00159, 2016 WL 4191683, at *4 (M.D. Tenn. Aug. 9, 2016).

       Here, the video clearly depicts Sutton unpackage, weigh, and distribute the



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methamphetamine to the confidential informant. The audio contains admissions of Sutton as he

discusses the weight of the substance and other transactional content. [DN 35]. As represented

by the United States and consistent with the above case law, the statements by the confidential

informant will not be offered for the truth of the matter asserted; rather, they will give meaning to

the admissible responses of the defendant. Therefore, the motion to exclude the audio and video

evidence of the controlled buy is denied.

B. Drug Evidence

       Sutton contends that in the present case a reasonable probability exists that the source of

the alleged methamphetamine was the informant himself or a family member, and it should be

excluded. Sutton argues that because the confidential informant is deceased, the United States

cannot demonstrate that the substance law enforcement received from the informant and tested for

methamphetamine was the same substance exchanged on the video between the informant and

Sutton. Sutton also complains that the confidential informant’s home was not searched nor was

the confidential informant’s family member searched prior to the controlled buy. And because no

video or audio recording of the 19 minutes that the informant spent in the house following his

meeting with Sutton exists, a break in the chain of custody also requires the drugs to be excluded.

[DN 36 at 6].

       The Court disagrees.       “Physical evidence is admissible when the possibilities of

misidentification or alteration are ‘eliminated, not absolutely, but as a matter of reasonable

probability.’” United States v. Allen, 619 F.3d 518, 525 (6th Cir. 2010) (quoting United States v.

McFadden, 458 F.2d 440, 441 (6th Cir. 1972)). “Merely raising the possibility of tampering or

misidentification is insufficient to render evidence inadmissible.” United States v. Combs, 369

F.3d 925, 938 (6th Cir. 2004) (citing United States v. Kelly, 14 F.3d 1169, 1175 (7th Cir. 1994)).



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Furthermore, absent actual evidence of tampering or misidentification, any challenge to the chain

of custody goes to the weight of the evidence, not its admissibility. United States v. Conway, No.

CR 17-43-DLB-CJS, 2018 WL 5986736, at *2 (E.D. Ky. Nov. 13, 2018), aff’d, No. 18-6260, 2020

WL 2924544 (6th Cir. Apr. 24, 2020) (citing United States v. Knowles, 623 F.3d 381, 386 (6th

Cir. 2010)); see also United States v. Allen, 106 F.3d 695, 700 (6th Cir. 1997); United States v.

Levy, 904 F.2d 1026, 1030 (6th Cir. 1990). These issues raised by Sutton are matters of credibility

of the evidence, not admissibility, and are properly reserved for cross-examination and argument.

                                      III. CONCLUSION

       For the reasons set forth above, IT IS HEREBY ORDERED that the motion by

Defendant, Billy Ray Sutton, to exclude from the trial the drug, audio, and video evidence from

the March 12, 2020, controlled buy [DN 21, DN 36] is DENIED.




cc: counsel of record                                                        June 7, 2021




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